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                            UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                :
                                                        :
          v.                                            :       Criminal Case No.
                                                        :
 KENNETH JOSEPH OWEN THOMAS,                                :    1:21-cr-00552 (CRC)
                                            :
                   Defendant                :
                                           :
___________________________________________


           DEFENDANT KENNETH THOMAS’ MOTION IN LIMINE AND
      MEMORANDUM OF LAW TO EXCLUDE FALSEHOODS ABOUT POLICE
                            OFFICERS

       Defendant KENNETH JOSEPH OWEN THOMAS (“Thomas”), through the undersigned

counsel, John L. Pierce, Esq. presents this Motion and Memorandum of Law for an order in

limine to exclude from presentation or mention at trial of arguments, evidence, or claims by

Government witnesses that are unduly prejudicial about non-existent deaths of police officers

supposedly caused by demonstrations on January 6, 2021.

       Defendant Thomas hereby places the prosecution on notice that he may call the D.C.

Chief Medical Examiner Diaz as a witness – and as a designated expert witness – at trial if the

prosecution raises or mentions this persistent lie at trial. Diaz will be called as a witness on the

substance of his autopsy report and any associated reports or analyses of the death of Officer

Brian Sicknick. The Government is hereby placed on notice of Diaz as an expert witness to

rebut any false claims made about Sicknick by the DOJ. The conclusions addressed in this

Motion are the substance and the bases of the expert testimony sought from Diaz.

       In support of his motion Thomas states as follows:
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I. INTRODUCTION AND OVERVIEW

       Normally a motion of this type would be unnecessary. We would assume care and

truthfulness from prosecutors. However, the ultimate boss of the prosecutors in this case,

Attorney General Merrick Garland, as recently as the week of January 6, 2023, once again

claimed that five (5) police officers died during the events at the U.S. Capitol on January 6,

2021, or directly resulting. The Attorney General and the President of the United States and

others have repeated this disinformation countless times over the last two years. Rather than

delve into the difficult problems of suicide, the ultimate bosses of the prosecutors caught in the

middle here in this Court are cynically exploiting the tragedies of unrelated suicides.

       The Attorney General is the head of the U.S. Department of Justice. The prosecutors are

employed by the U.S. Attorney for the District of Columbia, Matthew Graves. The U.S.

Attorney is chosen and works for the Attorney General. The U.S. Attorney’s Office is part of the

U.S. Department of Justice.

       Judges in related cases have commented that they cannot order the U.S. Department of

Justice or Congress to not do things. But the Court can order within this case and this courtroom

measures to remedy influences upon this case from outside the courtroom. The Court must strive

to provide the Defendant with a fair trial in spite of all circumstances internal to and external to

the courtroom, consistent with the due process requirements of the U.S. Constitution.

       The demonstrations by an estimated 10,000 mostly peaceful protestors around the Capitol

is frequently called “deadly.” 1 But that is a lie. Only demonstrators were killed, at the hands of

the city police force (distinct from the U.S. Capitol Police), such as Ashli Babbitt, Roseanne



1
       The prosecution refuses to consider the diversity of actions and conduct spread across the
spectrum among 10,000 individuals. Naturally, this blurring of reality serves their goals of
convictions, yet prosecutors do have special burdens with regard to the limits of advocacy.
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Boyland and others. Victoria White was beaten to the point that blood can be seen on video

recordings pouring out into her White-colored “hoodie” on her head. This occurred when the

crush of the crowd behind her and Roseanne Boyland were dozens of people deep, so that they

had no way of complying with police and no place to go. That is, one may not imagine that

police aggression served any purpose, when those they were beating could not retreat.

       Unless the AUSA is prepared to prove that any police officers died as a result of events

on January 6, 2021, they should not refer to such a claim.

       The Court is asked to notice the nuanced and balanced nature of this motion. Defendant

is not seeking to play the kinds of games employed against January 6 Defendants. If the

prosecution can proffer a factual basis for outlandish, inflammatory, and prejudicial claims, then

the Court can address it on those terms. 2 But without laying a foundation, the prosecution should

not continue in this transparent mendacity.

       The greatest danger is in opening argument when it would be a little disruptive and often

impolite for defense counsel to interrupt the prosecution’s opening statement with an objection.

The opening statement is also likely to have an inordinate impact on the jury’s understanding of

the case at the outset of the case and with no immediate contradiction of the assertion.

       It can be observed that somehow all prosecutors in all jurisdictions seem to have

somehow picked up the same tactics of loudly and sternly proclaiming “what happened” as if

they were eyewitnesses. By contrast, defense counsel are admonished to follow the pattern of “I

believe the evidence will show …”




2
        One should consider if these tactics had been used during Rev. Martin Luther King’s
mass demonstration centered around the Lincoln Memorial. What if opponents had falsely
claimed that 5 police officers had died as a result of Martin Luther King’s speech from the steps
of the Lincoln Memorial? Our nation’s history might have turned out differently.
                                                     3
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       Opening statements are extremely important for alerting the jury to what questions they

must decide and what to be on the lookout for.

       But they also present risks. Most especially opening statements are prone to references to

things that have not been proven (yet) by any evidence. The assertions in opening statements

may be many days removed in time from the actual evidence. It is considered rude and most

jurors would consider it disruptive to interrupt the other party’s opening statement.

       The Court must act when possible (i.e., not surprised) to keep opening statements to facts

for which there is a good faith basis in the coming evidence. A Court can’t do that unless alerted

in advance. That is the purpose of this Motion now.

       However, if the prosecution does not have any proof it can present that any police officer

died because of or as a direct result of events at or near the U.S. Capitol, it should not mislead,

confuse, and inflame the jury.

       With regard to the suicides many months later, the political class has tried to suggest –

suggest, with no evidence whatsoever of course – that the trauma of their heroism being

celebrated and shouted from every housetop and them being praised for their efforts on January 6

caused them to commit suicide because they had to confront fellow citizens.

       But all law enforcement with the exception of immigration border patrols spend their

entire careers confronting fellow citizens. Police officers investigate crimes committed by

fellow citizens. They arrest fellow citizens. They testify at trial against fellow citizens.

       Why would police officers – who would likely need to be called as witnesses – feel that

while being widely praised and appreciated by the highest officials in the land and throughout

the news media – that they could not bear this any more? Why would they deprive the nation of

their testimony?



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       Of course, to the best of counsel’s knowledge there are no facts of any kind whatsoever

as to why these officers months later committed suicide. In addition to all other problems, the

topic is sheer speculation and conjecture. When it comes to facts, the cupboard is bare.

       The post logic philosophy of “A happened, then B happened” has infected the U.S.

Department of Justice (“DoJ”) as it has poisoned much of modern U.S. society. The claim that

“A caused B” is not supported in anyway by an observation that “A happened, then B

happened.” George H.W. Bush was elected President. Then Mt. Pinatubo erupted. But electing

a Bush as President does not) cause volcanos to erupt, even though one volcano actually did, in

fact, erupt after a Bush was elected President. It is not evidence to suggest as conjecture that a

police officer responded to unruly demonstrations.

       Even worse, and more unacceptable, this leads to descriptions of the events of January 6,

2021, as “deadly” evading the need for confirmed details. Such a reference hides the complete

lack of evidence to support the sweeping statement in broad brush strokes.

       Thus, even in broad brush strokes, the prosecution should not refer to this topic.

       By contrast, the Defendant, by counsel, does believe that the prosecution is showing the

reaction of the crowds to police aggression, by cutting out the events prior to the videos shown.

Defendant may have to show that Defendants like Thomas acted in defense of themselves or

others when attacked by under-staffed police who had not been given proper support by their

leadership. However, Defendant’s counsel would not and will not refer to or make any such

argument without a solid, strong foundation of facts to support it. Just as the prosecution

referring to “deadly” protests and then being proven wrong might back-fire, juries would only

consider the topic of a mutual, back-and-forth melee from compelling evidence.


II. GOVERNING LAW

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           Federal Rules of Evidence Rule 403. Excluding Relevant Evidence for
           Prejudice, Confusion, Waste of Time, or Other Reasons

           The court may exclude relevant evidence if its probative value is
           substantially outweighed by a danger of one or more of the following:
           unfair prejudice, confusing the issues, misleading the jury, undue delay,
           wasting time, or needlessly presenting cumulative evidence.

       https://www.law.cornell.edu/rules/fre/rule_403

           Notes of Advisory Committee on Proposed Rules

           The case law recognizes that certain circumstances call for the exclusion
           of evidence which is of unquestioned relevance. These circumstances
           entail risks which range all the way from inducing decision on a purely
           emotional basis, at one extreme, to nothing more harmful than merely
           wasting time, at the other extreme. Situations in this area call for
           balancing the probative value of and need for the evidence against the
           harm likely to result from its admission. Slough, Relevancy Unraveled, 5
           Kan. L. Rev. 1, 12–15 (1956); Trautman, Logical or Legal Relevancy—A
           Conflict in Theory, 5 Van. L. Rev. 385, 392 (1952); McCormick §152, pp.
           319–321. The rules which follow in this Article are concrete applications
           evolved for particular situations. However, they reflect the policies
           underlying the present rule, which is designed as a guide for the
           handling of situations for which no specific rules have been formulated.
           Exclusion for risk of unfair prejudice, confusion of issues, misleading the
           jury, or waste of time, all find ample support in the authorities. “Unfair
           prejudice” within its context means an undue tendency to suggest
           decision on an improper basis, commonly, though not necessarily, an
           emotional one.
                              ***


III. ARGUMENT

       On April 19, 2021, the U.S. Capitol Police issued a press release:

https://www.uscp.gov/media-center/press-releases/medical-examiner-finds-uscp-officer-

brian-sicknick-died-natural-causes




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                   Medical Examiner Finds USCP Officer

            Brian Sicknick Died of Natural Causes

                   April 19, 2021 Press Release

                   The     USCP    accepts   the   findings   from   the   District   of

            Columbia's Office of the Chief Medical Examiner that Officer Brian

            Sicknick died of natural causes. This does not change the fact Officer

            Sicknick died in the line of duty, courageously defending Congress and

            the Capitol.

                   The Department continues to mourn the loss of our beloved

            colleague. The attack on our officers, including Brian, was an attack on

            our democracy.

                   Working with the U.S. Attorney’s Office for the District of

            Columbia, the F.B.I.’s Washington Field Office and the Metropolitan

            Police Department, the USCP will continue to ensure those responsible

            for the assault against officers are held accountable.


                              ***

       Not only did the D.C. Coroner rule that Officer Sicknick died of natural causes, but the

autopsy also found no physical injuries, no irritation by any chemical substance, nothing.

            [Chief Medical Examiner Francisco Diaz] told The Washington
            Post that the autopsy found no evidence that Sicknick experienced an




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            allergic reaction to chemical irritants. He also said there was no
            evidence of either external or internal injuries. 3

Pete Williams, “Capitol Police Officer Brian Sicknick died of natural causes after riot, medical
examiner says,” NBC News, April 19, 2021, https://www.nbcnews.com/politics/politics-
news/capitol-police-officer-brian-sicknick-died-natural-causes-after-riot-n1264562 (emphasis
added).

            Diaz’s ruling means the chemical irritant assault – which two men, Julian
            Kahter and George Tanios, have been charged for – is not attributable
            for Sicknick’s death, and may effectively prevent the Justice Department
            from bringing homicide charges in the case. 4

Jordan Fischer, Eric Flack, "Officer Brian Sicknick died of natural causes, medical examiner
says: The D.C. Office of the Chief Medical Examiner says chemical irritant exposure did not
play a role in Sicknick's death, WUSA9 TV, April 19, 2021,
https://www.wusa9.com/article/news/national/capitol-riots/officer-brian-sicknick-suffered-
two-strokes-and-died-of-natural-cases-medical-examiner-says-capitol-riot-julian-khater-
george-tanios/65-059aa393-621d-47a1-b4bc-3b01b204f3db

       Any suggestion that Officer Sicknick’s natural-causes stroke resulted from events of

January 6, 2021, is a myth. The autopsy explicitly excludes the possibility that there was any

physical injury found internally or externally on Officer Sicknick nor was there any evidence of

any chemical irritant affecting Officer Sicknick.

            Sicknick’s manner of death was reported as natural. The cause was
            listed as “acute brainstem and cerebellar infarcts due to acute basilar
            artery thrombosis.”




3
        Officer Sicknick died of a stroke the day after January 6, 2021, and therefore the state of
observable physical injuries would be static as of January 7, 2021. No healing of his body would
obscure the state of the facts as of January 6, 2021.
4
        Understanding legally that the chemical attack is alleged, the lack of any detectable
effects upon Officer Sicknick could also suggest that Officer Sicknick was not in fact exposed to
any chemical irritants, even if video evidence indicates an attempt. Defendant Khateer is
accused of spraying bear spray in the direction of Sicknick, but the Coroner Diaz’s examination
conclusively establishes that no chemical irritant made contact with Sicknick’s body, nor was it
breathed in to produce any internal irritation.
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            The office, which released the report Monday, classifies a death as
            natural when “a disease alone causes death. If death is hastened by an
            injury, the manner of death is not considered natural.”


Jordan Pascale, “D.C. Medical Examiner Rules Capitol Police Officer Brian Sicknick Had Two
Strokes, Died Of Natural Causes,” DCIST [program of WAMU 88.5 of American University
Radio], April 19, 2021, https://dcist.com/story/21/04/19/d-c-medical-examiner-rules-
capitol-police-officer-brian-sicknick-had-two-strokes-died-of-natural-causes/ (Emphasis
added).

       The D.C. Medical Examiner received the body shortly after January 7, 2021. Sicknick

died the day after January 6, 2021. Therefore, no healing occurred in his Sicknick’s body that

would have obscured any physical or chemical injuries or irritation.

       The fact that D.C. Chief Medical Examiner Diaz found no signs of chemical irritation

externally or internally – that is, no chemical irritation to Officer Sicknick’s mouth, esophagus,

throat, or lungs nor to his eyes or skin – means that Officer Sicknick was not, in fact, sprayed

with any chemical on January 6, 2021. Defendant Khateer may be aimed a spray of gas or

chemical in Sicknick’s direction (of which Defendant expresses no opinion, just arguendo,

hypothetically) but if Khateer did actually do so, he missed. Officer Sicknick experienced no

chemical irritation, according to the D.C. Chief Medical Examiner, and was not in fact gassed or

sprayed with any chemical.

       The D.C. Medical Examiner took 90 days, to complete this autopsy and report, and

presumably reached a painstaking and careful conclusion, in conflict with the strong winds of

political assumptions and beliefs. While false narratives raged and took hold in the public’s

mind, Diaz was slow and no doubt meticulous and careful.

       Yet the Attorney General Merrick Garland once again claimed on January 4, 2023, in a

press release that five police officers died on or as a direct result of events on January 6, 2021.

       The Attorney General of course is not a random political appointee speaking politically.

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The Attorney General is the official ultimately responsible for all prosecutions at the federal

level. The Attorney General is in the chain of command, the top of the chain of command, of

this case now before the Court. The Attorney General should not be making any statements at all

of any nature while hundreds of “cases” – really one giant case subdivided – on the same topic

are still pending and awaiting trial. Like Presidents, an Attorney General should be saying

absolutely nothing about pending criminal cases.

       Furthermore, these comments were not in a political speech. The same U.S. Department

of Justice for whom the U.S. Attorney and the AUSA prosecutor are employed issued a press

release:

https://www.justice.gov/opa/pr/attorney-general-merrick-b-garland-statement-second-
anniversary-january-6-attack-capitol (Emphasis added).


                                       Department of Justice

                                         Office of Public Affairs



       FOR IMMEDIATE RELEASE

       Wednesday, January 4, 2023




           Attorney General Merrick B. Garland Statement on the Second


                  Anniversary of the January 6 Attack on the Capitol


                    Friday, Jan. 6, 2023, will mark 24 months since the attack

             on the U.S. Capitol that disrupted a joint session of the U.S.




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  Congress in the process of affirming the presidential election

  results.


         Under the continued leadership of the Justice Department,

  the U.S. Attorney’s Office for the District of Columbia and the FBI’s

  Washington Field Office, the investigation and prosecution of those

  responsible for the attack continues to move forward at an

  unprecedented speed and scale.


         Attorney General Merrick B. Garland made the following

  statement:


         “Two years ago, the United States Capitol was attacked as

  lawmakers met to affirm the results of a presidential election.

  Perpetrators attacked police officers, targeted and assaulted

  members of the media, and interfered with a fundamental element

  of our democracy: the peaceful transfer of power from one

  administration to the next.


         “Since then, countless agents, investigators, prosecutors,

  analysts, and others across the Justice Department have

  participated in one of the largest, most complex, and most resource-

  intensive investigations in our history. I am extremely grateful for

  the dedication, professionalism, and integrity with which they have

  done this work. This investigation has resulted in the arrest of more

  than 950 Defendant for their alleged roles in the attack. We have


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            secured convictions for a wide range of criminal conduct on

            January 6 as well as in the days and weeks leading up to the attack.

            Our work is far from over.


                    “We will never forget the sacrifice of the law enforcement

            officers who defended the members of Congress and others inside

            the Capitol that day. And we will never forget the five

            officers who responded selflessly on January 6 and who

            have since lost their lives: Officer Brian Sicknick, Officer

            Howard Liebengood, Officer Jeffrey Smith, Officer

            Gunther Hashida, and Officer Kyle DeFreytag.


                    “The Justice Department remains committed to honoring

            them. We remain committed to ensuring accountability for those

            criminally responsible for the January 6 assault on our democracy.

            And we remain committed to doing everything in our power to

            prevent this from ever happening again.”


                                                    ***




       Long before the facts were known, the U.S. Department began this false narrative,

apparently for purely political purposes, including in a January 8, 2021, press release:

“Statement of Acting Attorney General Jeffrey A. Rosen on the Death of U.S. Capitol

Police Officer Brian D. Sicknick,” https://www.justice.gov/opa/pr/statement-acting-

attorney-general-jeffrey-rosen-death-us-capitol-police-officer-brian-d

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       One day after Officer Sicknick died on January 7, 2021, the U.S. Department of Justice

on the following day January 8, 2021 – 88 days before the D.C. Chief Medical Examiner

determined Sicknick’s cause of death – had already leaped to an unfounded conclusion.

                                          Department of Justice

                                              Office of Public Affairs



                    FOR IMMEDIATE RELEASE

                    Friday, January 8, 2021


                      Statement of Acting Attorney General Jeffrey A.

             Rosen on the Death of U.S. Capitol Police Officer Brian

                                              D. Sicknick


                    Acting Attorney General Jeffrey A. Rosen issued the following

            statement:


                    “Our thoughts and prayers are with the family and fellow officers

            of U.S. Capitol Police Officer Brian D. Sicknick, who succumbed last night

            to the injuries he suffered defending the U.S. Capitol, against the violent

            mob who stormed it on January 6th. The FBI and Metropolitan Police

            Department will jointly investigate the case and the Department of

            Justice will spare no resources in investigating and holding accountable

            those responsible.”




       This false narrative polluted the jury pool and has deprived January 6 Defendants of a fair

trial for the following two years. Thus, there is far more than risk-averse concern that this


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persistent but knowingly-false narrative may affect the trial in this case without the Court acting

to ensure a fair trial. The risk that this trial will be affected by this falsehood is real.

           Meanwhile, there were four suicides of law enforcement officers after January 6, 2021 --

Officer Howard Liebengood, Officer Jeffrey Smith, Officer Gunther Hashida, and Officer Kyle

DeFreytag.

           However, there is no evidence of any connection between these suicides and any event on

or related to January 6, 2021. This is a recognized logical fallacy called "Post hoc, ergo propter

hoc" or “After this, therefore because of this.” This is also referred to as a Post hoc logical

fallacy.

           Specifically, “assuming that since A happened before B, A must have caused B.”

           The fact that January 6 2021, occurred and then the suicides occurred does not support

any causal relationship between one and the other.

           Nor is there the slightest common sense or rationality to the suggestion. During the

months following January 6, 2021, while the police were celebrated and honored nationwide, the

only possible scenario one can imagine for any connection is a dark motivation we would not be

able to say in polite company. We can only think it.

           Officer Fanone and Officer Dunn have become minor celebrities, with books being

published. They will never have to buy a beer with their own money again, at least not among

the company of Leftists. And yet we are invited to leap off a cliff assuming some reason why

four law enforcement officers would commit suicide because of January 6, 2021, rather than

because of something else in their lives. Cliff-diving has now replaced the role of evidence,

facts, and logic.

           The political world, the U.S. Department of Justice, and Attorney General are engaging


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in conjecture. Some think that when law enforcement officers have to enforce the law against

their fellow U.S. citizens they are traumatized. In fact, however, all law enforcement officers all

the time or almost all the time are enforcing the law against fellow citizens. The conjecture has

no basis in common sense. Since all law enforcement involves officers engaging with U.S.

citizens, the imaginative explanations offered – without any evidence – are inadequate.

       Sadly, suicides happen far too often. Trying to understand why one has made that

decision is often one of many very difficult issues when it happens. Suicide is often an act which

no one else is able to comprehend. Looking from the outside at least it is a fundamentally

irrational act. Yet completely inventing imaginative reasons in order to try to convict someone

not responsible is no better.

       CONCLUSION

       The Court should enter the requested order in limine.



Dated: February 19, 2023                              Respectfully Submitted,
                                                       /s/ John M. Pierce, esq.
                                                      John M. Pierce, esq.
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                                CERTIFICATE OF SERVICE
I, John M. Pierce, hereby certify that on this day, February 19, 2023, I caused a copy of the
foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.




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